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                                                                                       EXHIBIT 13

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   --------------------------------------------------------------- x
   MARIA SUAREZ,

                             Plaintiff,

                    -against-                                          Case No. 19-CV-07271-GRB-SIL

   SOUTHERN GLAZER’S WINE and SPIRITS OF
   NEW YORK, LLC,

                               Defendant.
   --------------------------------------------------------------- x

   DEFENDANT’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

           Defendant Southern Glazer’s Wine and Spirits of New York, LLC (“SGWS”) responds to

   Plaintiff Maria Suarez’s First Set of Interrogatories as follows:

                                          RESERVATION OF RIGHTS

           SGWS responds to these interrogatories subject to the accompanying objections without

   waiving and expressly preserving all such objections. Any response to interrogatories is made

   subject to SGWS’s right to object to the admission of any and all such responses on the grounds

   that they are irrelevant to the issues in this case or are otherwise inadmissible. SGWS also submits

   these responses subject to, without intending to waive, and expressly preserving any objections as

   to privilege or work product. These responses are based on SGWS’s present knowledge,

   information and belief, and are subject to amendment and supplementation as SGWS acquires

   additional information or documents and completes its discovery of the facts underlying this case.

                                           GENERAL OBJECTIONS

           1.       SGWS objects to each Interrogatory propounded by Plaintiff to the extent each

   seeks information protected by the attorney-client privilege and/or work-product doctrine. SGWS

   further objects to each Interrogatory to the extent it seeks to impose obligations on it beyond those
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   required by applicable court rules. SGWS also objects to each Interrogatory to the extent each

   purports to require identification or production of documents prepared subsequent to the institution

   of this lawsuit or in anticipation of litigation.

           2.       The inadvertent production of any information, documents or material protected by

   the attorney-client privilege or work-product doctrine will not waive SGWS’s right to assert such

   privilege. SGWS also retains the right to retrieve information, documents or material inadvertently

   produced, including copies thereof, if any, which are deemed to be protected by any such privilege.

           3.       SGWS objects to each Interrogatory insofar as it seeks information beyond the

   temporal scope of discovery appropriate to this case on the grounds that such Interrogatories are

   overly broad and unduly burdensome and do not seek information that is relevant to this case.

           4.       SGWS objects to the Interrogatories to the extent that they purport to require the

   disclosure of information that is not within possession, custody or control of SGWS.

           5.       SGWS’s failure to object on a particular ground or grounds shall not be construed

   as a waiver of its right to object on any additional ground or grounds.

           6.       The answers set forth herein are made without prejudice to, and without waiving,

   the following:

           a.       SGWS’s right to object on the grounds of competency, privilege, relevancy,

   materiality, or any other proper ground, to the use of any information which may hereinafter be

   provided or produced in response to Plaintiff’s Interrogatories, for any purpose, in whole or in part,

   in any subsequent step or proceeding in this action or any other action.

           b.       SGWS’s right to object on any and all grounds at any time to other discovery

   procedures involving or relating to the subject matter of Plaintiff’s Interrogatories herein answered.

           c.       SGWS’s right to provide, at any time, supplements, additions, revisions,

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   corrections, or clarifications with respect to any of the information provided, or the answers or

   objections made, in response to Plaintiff’s Interrogatories.

                    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          SGWS objects to Plaintiff’s instructions and definitions as overly broad and unduly

   burdensome, and further objects to such instructions and definitions to the extent they attempt to

   impose obligations on SGWS beyond those set forth under the Federal Rules of Civil Procedure.




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                                             RESPONSES

   INTERROGATORY NO. 1:

   Identify the name and address of each person answering these interrogatories and any and all

   documents referred to, consulted in connection with, or containing information relating to, the

   answers to these interrogatories, and any documents.

   RESPONSE: SGWS’ responses to Plaintiff’s interrogatories were prepared by counsel based on

   information and documents provided by multiple individuals and have been properly verified by

   an appropriate corporate representative (Kevin Randall). SGWS objects to identifying each such

   individual and the interrogatories as to which they provided information or documents as violating

   the attorney-client privilege and work-product doctrine.

   INTERROGATORY NO. 2:

   Identify all persons who are believed or known by you to have any knowledge concerning the

   subject matter of this action, or the issues raised by either the complaint or your answer, or that

   relate to any claims for damages raised in raised in the complaint or your answer, and specify the

   subject matter about which each such person has knowledge.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is premature as discovery has just recently commenced; (3) seeks

   information obtainable from other discovery sources that are more convenient, less burdensome,

   or less expensive such as initial disclosures and deposition testimony; and (4) is vague and

   ambiguous. Subject to and without waiving these objections, see SGWS’ Initial Disclosures.

   INTERROGATORY NO. 3:

   Identify all of the individuals who supervised the Plaintiff during her employment with You, and


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   dates on which each individual was the Plaintiff’s supervisor.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is unduly burdensome as it requires SGWS to search for all of

   Plaintiff’s supervisors for the entire duration of her employment and the dates on which each

   individual was Plaintiff’s supervisor; and (3) seeks information obtainable from other discovery

   sources that are more convenient, less burdensome, or less expensive such as deposition testimony.

   Subject to and without waiving these objections, SGWS states that at all relevant times John

   Wilkinson (Warehouse Director) supervised Plaintiff.

   INTERROGATORY NO. 4:

   State every reason why the Plaintiff was selected for termination as part of the statewide layoff

   program.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is premature as discovery has just recently commenced; and (3) seeks

   information obtainable from other discovery sources that are more convenient, less burdensome,

   or less expensive such as deposition testimony. Subject to and without waiving these objections,

   SGWS states the following. In early 2018, SGWS began a national initiative to reduce operating

   costs by increasing efficiency, eliminating positions, and streamlining its processes. In April 2018,

   26 employees in New York were selected for lay-off as part of the program. The selection criteria

   for the program included job performance, position elimination, ability to perform the tasks

   required of those still employed, and suitability for the positions remaining after the reorganization.

   Plaintiff was among those selected for the program based on the foregoing criteria, and her

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   employment was terminated, and position eliminated, effective April 6, 2018. Subsequently, the

   same position was also eliminated in SGWS’ upstate New York location.

   INTERROGATORY NO. 5:

   State every reason why Tonisha Durant was not selected for termination as part of the statewide

   layoff program.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is premature as discovery has just recently commenced; and (3) seeks

   information obtainable from other discovery sources that are more convenient, less burdensome,

   or less expensive such as deposition testimony. Subject to and without waiving these objections,

   SGWS states the following. In early 2018, SGWS began a national initiative to reduce operating

   costs by increasing efficiency, eliminating positions, and streamlining its processes. In April 2018,

   26 employees in New York were selected for lay-off as part of the program. The selection criteria

   for the program included job performance, position elimination, ability to perform the tasks

   required of those still employed, and suitability for the positions remaining after the reorganization.

   Tonisha Durant was not among those selected for the program based on the foregoing criteria, and

   her employment continued following the April 2018 reduction in force.

   INTERROGATORY NO. 6:

   Identify every “WMI Administrator” in the State of New York other than the Plaintiff who was

   terminated during the relevant time period due to Your statewide layoff program.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims and (2) seeks information obtainable from other discovery sources that

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   are more convenient, less burdensome, or less expensive such as deposition testimony. Subject to

   and without waiving these objections, SGWS states that the only WMI Administrator in New York

   whose employment was terminated as part of SGWS’ April 2018 reduction in force was Plaintiff.

   SGWS further states that the WMI Administrator position in SGWS’ upstate New York location

   was eliminated following the April 2018 reduction in force but that SGWS did not terminate the

   employee occupying that position (Melissa Johnson); instead, SGWS placed her into the Inventory

   Control Manager/WMI Administrator position that was open at that time.

   INTERROGATORY NO. 7:

   Identify every individual who held the position/title of “WMI Administrator” in the State of New

   York at any time during the relevant time period, and the dates on which each such individual held

   the “WMI Administrator” position.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims and (2) seeks information obtainable from other discovery sources that

   are more convenient, less burdensome, or less expensive such as deposition testimony. Subject to

   and without waiving these objections, SGWS states that Maria Suarez held the position of WMI

   Administrator at the Syosset, New York facility from on or around May 9, 2016, to April 6, 2018,

   and that Melissa Johnson held the position of WMI Administrator at the Syracuse, New York

   facility from on or around October 20, 2014, to May 5, 2019.

   INTERROGATORY NO. 8:

   Identify every individual who held the position/title of “WMI Inventory Control Manager” in the

   State of New York during the relevant time period, and state the dates on which each such

   individual held the “WMI Inventory Control Manager” position.

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   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims and (2) seeks information obtainable from other discovery sources that

   are more convenient, less burdensome, or less expensive such as deposition testimony. Subject to

   and without waiving these objections, SGWS states that Tonisha Durant held the position of WMI

   Inventory Control Manager at the Syosset, New York facility from on or around May 23, 2016, to

   January 13, 2019, and that Richard Meyer held the position of WMI Inventory Control Manager

   at the Syracuse, New York facility from on or around June 20, 2005, to June 29, 2018.

   INTERROGATORY NO. 9:

   Identify each individual who applied for the “WMI Administrator” position which was offered to

   the Plaintiff.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is unduly burdensome as it requires SGWS to search voluminous

   records to identify every individual that applied for the WMI Administrator position at SGWS’

   Syosset facility; and (3) seeks information obtainable from other discovery sources that are more

   convenient, less burdensome, or less expensive such as deposition testimony. Subject to and

   without waiving these objections, see SGWS 1532-1657.

   INTERROGATORY NO. 10:

   Identify each individual who applied for the “WMI Inventory Control Manager” position which

   was offered to Tonisha Durant.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

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   defenses to those claims; (2) is unduly burdensome as it requires SGWS to search voluminous

   records to identify every individual that applied for the WMI Inventory Control Manager position

   at SGWS’ Syosset facility; and (3) seeks information obtainable from other discovery sources that

   are more convenient, less burdensome, or less expensive such as deposition testimony. Subject to

   and without waiving these objections, see SGWS 1658-1864.

   INTERROGATORY NO. 11:

   Identify each individual who was involved in the Decision to offer the “WMI Administrator”

   position to the Plaintiff.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is vague and ambiguous as indicated by the use of the undefined term

   “the Decision”; and (3) seeks information obtainable from other discovery sources that are more

   convenient, less burdensome, or less expensive such as deposition testimony. Subject to and

   without waiving these objections, SGWS states that Kevin Randall was the hiring manager for the

   WMI Administrator position that was offered to Plaintiff.

   INTERROGATORY NO. 12:

   Identify each individual who was involved in the Decision to offer the “WMI Inventory Control

   Manager” position to Tonisha Durant.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is vague and ambiguous as indicated by the use of the undefined term

   “the Decision”; and (3) seeks information obtainable from other discovery sources that are more

   convenient, less burdensome, or less expensive such as deposition testimony. Subject to and

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   without waiving these objections, SGWS states that Kevin Randall was the hiring manager for the

   WMI Inventory Control Manager position that was offered to Tonisha Durant.

   INTERROGATORY NO. 13:

   State every reason why the Plaintiff was offered the “WMI Administrator” position, and every

   reason why the Plaintiff was not offered the “WMI Inventory Control Manager” position.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is vague and ambiguous; and (3) seeks information obtainable from

   other discovery sources that are more convenient, less burdensome, or less expensive such as

   deposition testimony.

   INTERROGATORY NO. 14:

   State every reason why Tonisha Durant was offered the “WMI Inventory Control Manager”

   position, and if Tonisha Durant was not offered the “WMI Administrator” position, every reason

   why Tonisha Durant was not offered the “WMI Administrator” position.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is vague and ambiguous; and (3) seeks information obtainable from

   other discovery sources that are more convenient, less burdensome, or less expensive such as

   deposition testimony.

   INTERROGATORY NO. 15:

   Identify each individual who was involved in the decision to select the Plaintiff for termination,

   and not select Tonisha Durant for termination as part of the statewide layoff program.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

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   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is vague and ambiguous; and (3) seeks information obtainable from

   other discovery sources that are more convenient, less burdensome, or less expensive such as

   deposition testimony. Subject to and without waiving these objections, SGWS states that Kevin

   Randall and Elizabeth Toohig were involved in the decision to terminate Plaintiff’s employment

   as part of the April 2018 reduction in force.

   INTERROGATORY NO. 16:

   Identify by name and job title every Southern employee who was not a union member who was

   terminated due to the statewide layoff program.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) is unduly burdensome as it requires SGWS to search voluminous

   records to identify whether an employee is union or non-union and then determine whether they

   were selected for termination as part of a reduction in force along with their job title; (3) is fishing

   for information on claims not made in the complaint; and (4) is duplicative of Plaintiff’s other

   Interrogatories such as Interrogatory No. 6. Subject to and without waiving these objections, see

   SGWS 1176.

   INTERROGATORY NO. 17:

   State the precise date on which “John Wilkinson relocated Suarez to an office on the warehouse

   floor” as indicated in paragraph 74 of your answer.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) seeks information obtainable from other discovery sources that are

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   more convenient, less burdensome, or less expensive such as deposition testimony; and (3) is

   premature as discovery has just recently commenced. Subject to and without waiving these

   objections, SGWS states that it does not have knowledge or information sufficient to form a

   response to Interrogatory No. 17.

   INTERROGATORY NO. 18:

   Describe all “legitimate, non-discriminatory and non-retaliatory business reasons” why Southern

   made the “decisions with respect to Suarez’s employment” as stated in your 2nd Affirmative

   Defense.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) seeks information obtainable from other discovery sources that are

   more convenient, less burdensome, or less expensive such as deposition testimony; (3) calls for a

   legal conclusion; and (4) is duplicative of Plaintiff’s other Interrogatories such as Interrogatory

   No. 4.

   INTERROGATORY NO. 19:

   State the specific exemption(s) from the overtime requirements of the FLSA and the NYLL

   asserted by the Defendant pursuant to its 5th Affirmative Defense.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) seeks information obtainable from other discovery sources that are

   more convenient, less burdensome, or less expensive such as deposition testimony; and (3) calls

   for a legal conclusion.

   INTERROGATORY NO. 20:

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   State the date on which the Plaintiff was furnished with the performance review dated February 1,

   2014.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims and (2) seeks information obtainable from other discovery sources that

   are more convenient, less burdensome, or less expensive such as deposition testimony. Subject to

   and without waiving these objections, see SGWS 1379-1512.

   INTERROGATORY NO. 21:

   Identify every female who was hired into the “warehouse” classified position from 2004 until

   2017, and the date on which each such individual was hired (See Defendant’s Answer denying

   Plaintiff’s allegation that “[f]rom 2004 until…2017, Southern did not hire any females into the

   “warehouse” classified position.”).

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) seeks information obtainable from other discovery sources that are

   more convenient, less burdensome, or less expensive such as deposition testimony; (3) is unduly

   burdensome as it requires SGWS to search voluminous records to identify all female employees

   who were hired into a warehouse classified position from 2004 to 2017 along with their dates of

   hire; and (4) is fishing for information on claims not made in the complaint.

   INTERROGATORY NO. 22:

   Identify every female who was classified as a “warehouse” employee for the period from 2004 to

   2017 (See Defendant’s Answer denying Plaintiff’s allegation that “[f]rom 2004 until. . .2017,

   Southern’s ‘warehouse’ classified workforce was 100% male.”)

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   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) seeks information obtainable from other discovery sources that are

   more convenient, less burdensome, or less expensive such as deposition testimony; (3) is unduly

   burdensome as it requires SGWS to search voluminous records to identify all female employees

   who were hired into a warehouse classified position from 2004 to 2017 along with their dates of

   hire; (4) is fishing for information on claims not made in the complaint; and (5) is duplicative of

   Interrogatory No. 21.

   INTERROGATORY NO. 23:

   Specify all dates when Southern issued litigation hold instructions and who received the litigation

   hold instructions concerning the Plaintiff’s EEOC charge and this litigation.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claim; and (2) seeks information protected by the attorney-client privilege and

   work-product doctrine.

   INTERROGATORY NO. 24:

   Identify the individual who occupied the Plaintiff’s former office after she was relocated to the

   office on the warehouse floor.

   RESPONSE: SGWS objects to this Interrogatory to the extent it (1) seeks information that is not

   relevant to and that is disproportional to Plaintiff’s retaliation and overtime claims and SGWS’

   defenses to those claims; (2) seeks information obtainable from other discovery sources that are

   more convenient, less burdensome, or less expensive such as deposition testimony; (3) is

   premature as discovery has just recently commenced; and (4) is vague and ambiguous. Subject to

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   and without waiving these objections, SGWS states that Plaintiff’s former office was occupied by

   Ena Scott (Inventory Control Clerk).

          Dated: March 29, 2021

                                                   /s/ Anjanette Cabrera
                                                   Anjanette Cabrera
                                                   Stephen Stecker
                                                   Constangy, Brooks, Smith & Prophete, LLP
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                                                   ATTORNEYS FOR SGWS




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                             CERTIFICATE OF SERVICE

         I certify that on March 29, 2021, I served DEFENDANT’S RESPONSES TO

   PLAINTIFF’S FIRST SET OF INTERROGATORIES on Plaintiff’s attorney by email:

                           Steven J. Moser
                           Moser Law Firm, P.C.
                           5 E. Main Street
                           Huntington, New York 11743
                           Phone: (631) 824.0200
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                           ATTORNEY FOR PLAINTIFF

                                           /s/ Anjanette Cabrera
                                           Anjanette Cabrera




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